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Ps s
(s/ss)

United States District Court

for
Western District of Tennessee

 

U.S.A. vs. Bruce Barnhill Docket No. 04-20503-01

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETRIAL SERVICES OFFICER Stephanie K. Denton presenting an official report upon the
conduct of Defendant Bamhill who was placed under pretrial release supervision by the Honorable S. Allan Alexander
sitting in the court in Oxford (ND/MS), on the 19"‘ day ofJanuary, 2005, under the following conditions:

l) Report as directed to Pretrial Services and 2) Def`endant’s travel is restricted to the NDfMS and WD/TN for court
appearances only.

On February lS, 2005, the defendant appeared before the Honorable Tu M. Pham for the purpose of an initial
appearance in the WD/TN. Defendant Barnhill‘s conditions of release were amended to include the following;

l) Report as directed by Pretrial Services, 2) Defendant is restricted in residence and travel to the WD/TN and the
ND/MS without prior approval ot`Pretrial Services, 3) Refrain from possessing a firearm, destructive device, or other
dangerous weapon, 3) Refrain from any use or unlawful possession of a narcotic drug or other controlled substances,
4) Submit to any method of testing required by Pretrial Services, and 5) Participate in a program of drug treatinth
if deemed advisable by Pretrial Serviees.

On March 7, 2005 , a consent to modify Was ordered to include the following condition: Participate in mental health
treatment if deemed advisable by Pretrial Services.

RESPECTFULLY PRESENT]NG FETIT|ON l~`OR ACTlON OF COURT AND FOR CAUSE AS FOLLOWS:

Please see attached page.

PRAYING THAT THE COURT WILL ORDER ISSUANCE OF A WAR_RANT THAT THE DEFENDANT MAY
APPEAR AND SHOW CAUSE AS TO WHY HIS BOND SHOULD NOT BE REVOKED.

BOND RECOMMENDATION: NONE

ORDER OF COURT l declare under penalty of perjury that the
foregoing is true and correct.

Considered and ordered this l g Executed en May 16’ 2005
day of 61 , 20 U_B" and ordered
files and made art of the records in the above 1 ‘ 1

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nw / U.S. Pretrial Services Of’ficer
U.S. MagistratSDislrict .Iudge P]ace Memphjs, TN

This document entered on the dockets a
with Ru|e 55 and/or 32(b} FHCrP on

 

   

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Report as directed by Pretrial Services

On May l l, 2005, Superivisory U.S. Pretrial Services Off'icer Murray Fullner instructed the defendant to contact U.S.
Probation Officer Valarie Peters in the ND/MS in the morning on May 12, 2005. Defendant Barnhill failed to contact
USPO Peters.

Refrain from anv use or unlawful possession of a narcotic drug or other controlled substances
On February 25, 2005, April 4, 2005, and May 12, 2005, the defendant submitted urine Specimens that tested positive
for marijuana

On April 4, 2005, the defendant signed a voluntary admission of illegal drug use stating that he last smoked marijuana
on March 31, 2005. On May 12, 2005, the defendant signed a voluntary admission of illegal drug use stating that he last
used marijuana on April 19, 2005.

Submit to any method of testing required by Pretrial Services

Defendant Barnhill failed to submit a urine screen at Pretrial Services in Memphis, TN, on May ll, 2005.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20503 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

